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                        UNITED STATES DISTRICT COURT FOR
                          SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION



    ADRIAN GIL ROJAS,
         Petitioner,
          v.
    FRANK VANEGAS, Facility Administrator for
    El Valle Detention Center; MIGUEL
    VERGARA, Acting Field Office Director, San
    Antonio Field Office, United States Immigration
                                                       Civil Action No.: 1:25-cv-00056
    and Customs Enforcement; KRISTI NOEM,
    Secretary of Homeland Security; PAMELA JO
    BONDI, United States Attorney General, in their
    official capacities,
        Respondents.



                             PETITIONER’S REPLY IN SUPPORT OF
                           PETITION FOR WRIT OF HABEAS CORPUS

        In its response to Petitioner Adrian Gil Rojas’s petition1, the government acknowledges

that Mr. Gil Rojas holds Temporary Protected Status (TPS), but completely ignores the TPS

statute’s unambiguous command:

        An alien provided temporary protected status under this section shall not be detained by
        the Attorney General on the basis of the alien’s immigration status.




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 The government fashions its brief as a Response to Petitioner’s Motion for a Temporary
Restraining Order. But the Court ordered a response to the habeas petition, not the TRO, see Dkt.
9 at 3 (ordering a submission to show cause why the writ of habeas corpus should not be
granted), and the government’s filing pertains almost entirely to Mr. Gil Rojas’s custody status,
which is at issue in the petition but not the TRO, as the TRO sought only a stay of his removal.
Dkt. 3 at 1 (Plaintiff’s Motion for a Temporary Restraining Order).
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8 U.S.C. 1254a(d)(4) (emphasis added). See also Dkt. 1 at 1. Although the government has now

detained Mr. Gil Rojas for more than two months, its response never even attempts to explain

how his detention is consistent with this statute’s unambiguous prohibition.

       Instead, the government asserts authority to detain Mr. Gil Rojas now because of what

might transpire in the future. If his TPS status expires on April 2, and if his motion to reopen is

denied, at that point “he will become deportable,” which in turn would justify his detention as a

flight risk. Dkt. 15 at 2 (citing 8 U.S.C. 1231(a)(6)) (emphasis added).

       There are at least three fatal defects with that justification. First, the government cites no

authority for the proposition that it can detain Mr. Gil Rojas now because it might gain authority

to do so in the future. Section 1231(a)(6) never mentions TPS, and the TPS-specific detention

statute at Section 1254a(d)(4) contains no exception permitting detention of TPS holders who—

in the government’s view—might lose their status soon.

       Second, even if TPS does expire, Mr. Gil Rojas will not become subject to removal

unless and until the Immigration Judge presiding over his removal case denies his motion to

reopen. Dkt. 1 at 5. So long as it remains pending, his removal is automatically stayed—a fact

the government now appears to acknowledge, Dkt. 15 at 2, despite its effort to deport him two

weeks ago. The government suggests in response that the motion was untimely, but under that

law of this Circuit as well as the Second, where his motion was filed, untimeliness need not be

fatal to a motion to reopen. Iavorski v. INS, 232 F.3d 124, 134 (2d Cir. 2000); Lugo-Resendez v.

Lynch, 831 F.3d 337, 344 (5th Cir. 2016). Again, rather than indulge in the government’s

speculative prediction about what may happen in the future, this Court should decide this petition

based on the authority the government has now.




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       Third, there are very good reasons to believe Mr. Gil Rojas will not lose TPS status on

April 2, or at any time in the near future. The government does not dispute that its attempt to

rescind TPS for Venezuela is presently the subject of litigation. Dkt. 1 at 8. If the court in that

case grants the plaintiffs’ motion to postpone, Mr. Gil Rojas’s TPS status will not expire on April

2, 2025. Indeed, the Trump Administration’s attempts to end TPS in 2018 ultimately proved

unsuccessful, as those TPS holders retained their status for the duration of the first Trump

administration and beyond. Dkt. 1 at 8. As that history illustrates, any prediction about the

outcome of the ongoing TPS litigation would be speculative. The government can detain people

only where it has authority to do so now, not where it might gain such authority in the future.

       Finally, the government entirely ignores the equities in Mr. Gil Rojas’s favor. His two

year-old son—who watched in horror as ICE officers illegally arrested him two months ago—

remains separated from his father. See Exh. A to Reply, Villegas Decl. (describing how their son

was home alone with Mr. Gil Rojas when officers detained him and the boy’s mother arrived

only 20 to 25 minutes later, to find her son crying alone in a room with agents). Their son still

asks for his father each day, especially at night, and Mr. Gil Rojas’s partner, the boy’s mother,

also continues to suffer from Mr. Gil Rojas’s on-going unlawful imprisonment. Id. Separately, as

noted in his TRO, Mr. Gil Rojas was also a trial witness following the murder of his boss at a rest

stop in upstate New York. Dkt. 2-1 at Exh. A. A letter from a District Attorney in Clinton County,

New York, notes that Mr. Gil Rojas feared retaliation for his testimony but nonetheless took the

stand and helped secure a conviction of the perpetrator. Exh. B to Reply, Joo Ltr. In the face of

this showing, and the patent illegality of his continued detention, the government never explains

why it cannot at least release Mr. Gil Rojas with an electronic monitor or other comparable

supervisory mechanisms that would satisfy any flight risk concerns.



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       Mr. Gil Rojas has now been detained without any colorable legal basis for more than two

months. This Court should order his immediate release.




                                           Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which sends notice of electronic filing to Plaintiff’s

counsel of record.



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